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Bittrex Malta Ltd.                                                           Case No. 23-10600
Debtor                                                          Reporting Period: October 2023

                            MONTHLY OPERATING REPORT
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Bittrex Malta Ltd.                                                                             Case No. 23-10600
Debtor                                                                            Reporting Period: October 2023

                                      MONTHLY OPERATING REPORT

                                     Notes to the Monthly Operating Report

 This report includes activity from the following Debtors and their related Case Numbers:

 Debtor
 Bittrex Malta Ltd.                                                                                      23-10600

 Notes to the MOR:
 On May 8, 2023 (the “Petition Date”), each of the Debtors filed a voluntary petition for relief under chapter 11
 of the Bankruptcy Code. The Debtors are operating their business and managing their properties as debtors-in-
 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On May 10, 2023, the court entered
 an order [D.I. 2] authorizing joint administration and procedural consolidation of these chapter 11 cases pursuant
 to sections 101(2), 105(a), and 342(c)(1) of the Bankruptcy Code, rules 1015(b), and 2002(n) of the Federal
 Rules of Bankruptcy Procedure, and Local Rule 1015-1.

 The Debtors are filing their Monthly Operating Report ("MOR") solely for the purposes of complying with the
 monthly operating reporting requirements applicable in the Debtors' chapter 11 cases. The financial and
 supplemental information contained herein is presented on a preliminary and unaudited basis, remains subject to
 future adjustments and may not comply in all material respects with generally accepted accounting principles in
 the United States of America (“U.S. GAAP”) or International Financial Reporting Standards (“IFRS”). This
 Monthly Operating Report should not be relied on by any persons for information relating to future financial
 conditions, events, or performance of any of the Debtors or their affiliates.


 The financial information has been derived from the books and records of the Debtors. This information,
 however, has not been subject to certain procedures that would typically be applied to financial information in
 accordance with U.S. GAAP or IFRS, and upon application of such procedures, the Debtors believe that the
 financial information could be subject to changes, which could be material. The information furnished in this
 report includes primarily normal recurring adjustments, but does not include all adjustments that would typically
 be made for financial statements prepared in accordance with U.S. GAAP or IFRS. The preparation of the
 Financial Statements and MOR required the Debtors to make commercially reasonable estimates and
 assumptions with respect to the reported amounts of assets and liabilities, the amount of contingent assets and
 contingent liabilities at month end, and the reported amounts of revenues and expenses during the applicable
 reporting periods. Actual results could differ from such estimates. This MOR only contains financial information
 of the Debtors.

 The Debtors reserve all rights to amend or supplement this Monthly Operating Report in all respects, as may be
 necessary or appropriate. Nothing contained in this Monthly Operating Report shall constitute a waiver of any
 of the Debtors' rights or an admission with respect to their chapter 11 cases.
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Bittrex Malta Ltd.                                                                            Case No. 23-10600
Debtor                                                                           Reporting Period: October 2023

                                     MONTHLY OPERATING REPORT

                                    Notes to the Monthly Operating Report

 This report includes activity from the following Debtors and their related Case Numbers:

 Debtor
 Bittrex Malta Ltd.                                                                                     23-10600

 Notes to MOR Part 1:
 Cash receipts and disbursements related to intercompany transfers from the debtors to non-debtor related-entities
 are included within total cash receipts on the U.S. Trustee form. As outlined in section VIII of the Cash
 Management Motion [D.I. 8], Bittrex US, Inc. is obligated to pay expenses for both it and non-debtor Trexie
 Management, LLC due to Trexie lacking a bank account as of the Petition Date. Trexie Management, LLC is to
 reimburse the Debtors until it opens a bank account. While Trexie temporarily opened a bank account in May
 2023, its banking partner soon closed the account. Given that amounts expended under this arrangement equate
 to the Debtors acting as a "pass through" for Trexie Management, these amounts are excluded from the total
 disbursement calculation.

 Desolation Holdings LLC is the counterparty on the Debtors' leases, subleasing agreement, and certain other
 vendors. However, Desolation Holdings LLC does not have its own bank account to remit payments directly.
 Therefore, expenses of this Debtor are paid out of the operating account of Bittrex Inc. and then recorded as
 intercompany transactions between the two entities. While the Debtors are not aware of any post-petition
 amounts which will be due from debtors Bittrex Malta Ltd. and Bittrex Malta Holdings Ltd., if such expenses are
 discovered they would likely be paid under a similar arrangement.
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Bittrex Malta Ltd.                                                                             Case No. 23-10600
Debtor                                                                            Reporting Period: October 2023

                                     MONTHLY OPERATING REPORT

                                    Notes to the Monthly Operating Report

 This report includes activity from the following Debtors and their related Case Numbers:

 Debtor
 Bittrex Malta Ltd.                                                                                     23-10600

 Notes to MOR Part 2 & MOR Part 4:
 The information contained in MOR Part 2 & MOR Part 4 is provided to fulfill the requirements of the Office of
 the United States Trustee. All information contained in MOR Part 2 & MOR Part 4 is unaudited and subject to
 future adjustment.

 Assets and liabilities vary with the underlying value of the cryptocurrency held by the Debtors for customer
 accounts.

 As of the Petition Date, Debtors Bittrex Inc. and Bittrex Malta Ltd. held cryptocurrency valued at $337,964,452
 and $109,847,545 against customer cryptocurrency liabilities scheduled at $325,909,645 and $109,664,022
 respectively using May 8, 2023, values.

 As of October 31, 2023, Debtors Bittrex Inc. and Bittrex Malta Ltd. held cryptocurrency valued at $268,230,666
 and $67,806,654 against customer cryptocurrency liabilities at $271,083,781 and $67,998,718, net of customer
 withdrawals of $101,278,338 and $50,911,052 based on October 31, 2023, cryptocurrency values.

 As of the Petition Date, the Debtors held $11,903,808 of fiat currency associated with customer accounts.
 Pursuant to D.I. 128, the Court authorized customer withdrawals of fiat currency. As of October 31, 2023,
 customers had withdrawn $7,250,725 of fiat currency.

 As of October 31, 2023 the Debtors are not aware of any post petition payables past due. The Debtors make
 payments for accounts payable 1 - 2 times per week. Timing of when wires are initiated by the Debtors could
 lead to accounts payable becoming past due. The Debtors believe that there may be certain prepetition priority
 tax claims due of an unknown amount. The Debtors have elected to list the amount of prepetition as $0 in Part 2
 until such amounts are known.


 On September 12, 2023, the court entered an order [D.I. 337] authorizing the Debtors to assume and assign
 unexpired real property lease relating to Bellevue Place Office LLC. As such, the Debtors did not incur expenses
 or make payments during the month of October for the leased premises.
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Bittrex Malta Ltd.                                                                                   Case No. 23-10600
Debtor                                                                                  Reporting Period: October 2023

                                        MONTHLY OPERATING REPORT

                                       Notes to the Monthly Operating Report

 This report includes activity from the following Debtors and their related Case Numbers:

 Debtor
 Bittrex Malta Ltd.                                                                                             23-10600

 Notes to MOR Part 5:
 The Debtors have received approval to pay bankruptcy or non-bankruptcy professionals in the month of October
 2023. As such, applicable invoices from bankruptcy professionals were paid when due.

 Notes to MOR Part 8:
 For purposes of this MOR, the Debtors defined “insiders” pursuant to section 101(31) of the Bankruptcy Code
 as: (a) directors; (b) officers; (c) persons in control of the Debtors; (d) relatives of the Debtors' directors, officers,
 or persons in control of the Debtors; and (e) Debtor and non-Debtor affiliates of the foregoing. Moreover, the
 Debtors do not take a position with respect to: (a) any insider's influence over the control of the Debtors; (b) the
 management responsibilities or functions of any such insider; (c) the decision making or corporate authority of
 any such insider; or (d) whether the Debtors or any such insider could successfully argue that he or she is not an
 “insider” under applicable law, with respect to any theories of liability, or for any other purpose.
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Bittrex Malta Ltd.                                                                           Case No. 23-10600
Debtor                                                                          Reporting Period: October 2023


                                               PART 2
                                      BALANCE SHEET (UNAUDITED)

 Debtor name:                                                                              Bittrex Malta Ltd.
 Case number:                                                                                   23-10600
 Line item                                                                                   Current Period
 ASSETS
 Crypto Assets Held (1)                                                                              67,806,654
 Intercompany, Net                                                                                      192,063
 TOTAL CURRENT ASSETS                                                                                67,998,718
 TOTAL ASSETS                                                                                        67,998,718
 LIABILITIES AND EQUITY
 Pre-Petition Accounts Payable(2)                                                                           4,359
 Post-Petition Accounts Payable                                                                               250
 Customer Liabilities(3)                                                                             67,998,718
 TOTAL CURRENT LIABILITIES                                                                           68,003,327
 TOTAL LIABILITIES                                                                                   68,003,327
 Total Equity                                                                                            (4,609)
 TOTAL LIABILITIES & EQUITY                                                                          67,998,718


 (1) Estimated using prices as of October 31, 2023. Crypto Assets Held as of the Petition Date were scheduled to
 be $109,847,545.
 (2) $5,483.16 of pre-petition accounts payable included in the September MOR were reclassified to post-
 petition accounts payable in October upon receipt of invoice and review of the invoice service dates and
 subsequently paid in October.
 (3) Estimated using prices as of October 31, 2023. Customer Liabilities as of the Petition Date were scheduled
 to be $109,942,224 and includes fiat and crypto claims.
